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                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                 Eastern Division

Sharon Parcell
                               Plaintiff,
v.                                                    Case No.: 1:22−cv−03666
                                                      Honorable John F. Kness
Paramount Global
                               Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, September 16, 2022:


        MINUTE entry before the Honorable John F. Kness: In view of the Court's recent
order [28], the status hearing set for 9/23/2022 is stricken and reset for 12/22/2022 at
09:50 AM. The parties are to use the following call−in number: 888−684−8852,
conference code 3796759. The public and media representatives may have access to the
hearing via the same number. Audio recording of the hearing is not permitted; violations
of this prohibition may result in sanctions. Participants are directed to keep their device
muted when they are not speaking. Mailed notice(ef, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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criminal dockets of this District. If a minute order or other document is enclosed, please
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